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                                                           June 8, 2023
VIA ECF
The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Erick Estrada (22-CR-234 HG)
Dear Judge Gonzalez,

       I represent Erick Estrada in the above indictment who is currently scheduled to be
sentenced on June 27, 2023. I anticipate being engaged in a trial on Mr. Estrada’s sentence
date, therefore I respectfully request a short adjournment of his sentence date and any
sentencing memorandum.

       The government, AUSA Andres Palacio, graciously consents to the instant request. The
parties are available during the week of July 10, 2023. The defense is unavailable in the
afternoon of July 13, 2023.

       Thank you.

                                                          Sincerely,
                                                          /s/
                                                          Christopher Wright
